                       EXHIBIT A




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                                             New Search



CLETA DEATHERAGE MITCHELL
139 NATIONAL DR
SOUTHERN PINES, NC 28387

                              Collapse all sections | Expand all sections



 YOUR VOTER DETAILS                                                                


County:                                              MOORE
Status:                                              ACTIVE
Voter Reg Num:                                       000000127533
NCID:                                                CZ94155
Party:                                               REP
Race:                                                WHITE
Ethnicity:                                           NOT HISPANIC or NOT LATINO
Gender:                                              FEMALE
Registration Date:                                   05/13/2013
NCDMV Customer:                                      Yes



 YOUR JURISDICTIONS                                                                


Precinct:                                            SOUTH SOUTHERN PINES
Congress:                                            CONGRESSIONAL DISTRICT 9
NC Senate:                                           NC SENATE DISTRICT 21
NC House:                                            NC HOUSE DISTRICT 52
Superior Court:                                      SUPERIOR COURT DISTRICT 29
Judicial:                                            JUDICIAL DISTRICT 29
Prosecutorial:                                       PROSECUTORIAL DISTRICT 29
County Commissioner:                                 COMMISSIONER IV
Municipality:                                        SOUTHERN PINES
Township:                                            MCNEILL
School:                                              SCHOOL BOARD DISTRICT IV




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YOUR VOTING LOCATIONS                                                                                                    


During the early voting period, voters may cast a ballot at any early voting site in their county, and eligible individuals
may register and vote at the same time. Find early voting sites and schedules in your county with the Early Voting
Site Search. Voting sites change for each election and become available when finalized.

Election Day voters must cast a ballot at their assigned polling place. Click the name of your Election Day polling
place below for location details, your county board of elections contact information, and sample ballots when
available.

DOUGLASS COMMUNITY CENTER
1185 W PENNSYLVANIA AVE
SOUTHERN PINES, NC 28387




YOUR SAMPLE BALLOT (1)                                                                                                   


If this section is blank, you do not have any upcoming elections in your jurisdiction for the current year.

“Ballots not assigned yet” means a sample ballot is not yet available. Return to this site closer to the election date to
view your sample ballot(s).

Practice making your selections with the accessible sample ballot by choosing “Option 4” on the absentee ballot
portal.

Election                                                     Your Sample Ballot(s)
11/05/2024 GENERAL                                           Ballots not assigned yet.
03/05/2024 PRIMARY                                           R0003




YOUR ABSENTEE BALLOT: BY MAIL OR EARLY VOTING (0)                                                                        


By North Carolina law, in-person early voting and by-mail voting are “absentee” voting, as you vote “absent”
of Election Day.

Note: County boards of elections will post ballot acceptance information, but ballot requests are no longer public
record until the ballot is returned, or until Election Day, whichever is earlier. If you have not received your ballot
within two weeks of your request, contact your county board of elections.

To track your by-mail absentee ballot from request to acceptance, sign up for status notifications through BallotTrax.




YOUR VOTER HISTORY (15)                                                                                                  


If this section is blank, we do not have a record that you voted in a past election in North Carolina.


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Election                      Voted Method                Voted County               Primary Election Ballot
                              IN-PERSON ELECTION
11/07/2023 MUNICIPAL                                      MOORE
                              DAY
                              ONE-STOP EARLY
11/08/2022 GENERAL                                        MOORE
                              VOTING
                              ONE-STOP EARLY
05/17/2022 PRIMARY                                        MOORE                      REPUBLICAN
                              VOTING
                              ONE-STOP EARLY
11/02/2021 MUNICIPAL                                      MOORE
                              VOTING
                              ONE-STOP EARLY
11/03/2020 GENERAL                                        MOORE
                              VOTING
                              ONE-STOP EARLY
03/03/2020 PRIMARY                                        MOORE                      REPUBLICAN
                              VOTING
                              ONE-STOP EARLY
11/05/2019 MUNICIPAL                                      MOORE
                              VOTING
                              ONE-STOP EARLY
11/06/2018 GENERAL                                        MOORE
                              VOTING
                              IN-PERSON ELECTION
05/08/2018 PRIMARY                                        MOORE                      REPUBLICAN
                              DAY
11/08/2016 GENERAL            ABSENTEE BY MAIL            MOORE
06/07/2016 PRIMARY            ABSENTEE BY MAIL            MOORE                      REPUBLICAN
                              IN-PERSON ELECTION
03/15/2016 PRIMARY                                        MOORE                      REPUBLICAN
                              DAY
                              ONE-STOP EARLY
11/04/2014 GENERAL                                        MOORE
                              VOTING
                              ONE-STOP EARLY
05/06/2014 PRIMARY                                        MOORE                      REPUBLICAN
                              VOTING
                              IN-PERSON ELECTION
11/05/2013 MUNICIPAL                                      MOORE
                              DAY

                   For more information, please contact the Moore County Board of Elections.


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